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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             Senior District Judge Richard P. Matsch

  Civil Action No. 10-cv-00683-RPM

  SHERRONDA APPLEBERRY,

         Plaintiff,
  v.

  ADAMS COUNTY BOARD OF COUNTY COMMISSIONERS,
  ADAMS COUNTY CORONER’S OFFICE and
  JAMES HIBBARD, in his official capacity,

         Defendants.

  ______________________________________________________________________________

                           ORDER FOR DISMISSAL
  _____________________________________________________________________

         Pursuant to the Stipulation for Dismissal with Prejudice [30] filed August 15,

  2011, it is

         ORDERED that this action is dismissed with prejudice, each party to bear their

  own costs and attorneys’ fees.

         DATED: August 16th, 2011

                                     BY THE COURT:

                                     s/Richard P. Matsch
                                     ________________________________
                                     Richard P. Matsch, Senior District Judge
